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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


In re Wholesale Grocery Products
Antitrust Litigation                                ORDER
                                                    Court File No. 09-MD-2090 ADM/TNL
This Order Relates to All Actions


W. Joseph Bruckner, Esq., Elizabeth R. Odette, Esq., and Kate M. Baxter-Kauf, Esq., Lockridge
Grindal Nauen PLLP, Minneapolis, MN; Richard B. Drubel, Esq., Matthew J. Henken, Esq., and
Jonathan R. Voegele, Esq., Boies, Schiller & Flexner LLP, Hanover, NH; and Daniel A.
Kotchen, Esq., and Daniel L. Low, Esq., Kotchen & Low LLP, Washington, DC, on behalf of the
Midwest Plaintiffs.

Edward T. Dangel III, Esq., Dangel & Mattchen, Edgartown, MA, on behalf of Plaintiffs
DeLuca’s Market Corp., JFM Market, Inc., and MJF Market, Inc.

Martin R. Lueck, Esq., Stephen P. Safranski, Esq., Jeffrey S. Gleason, Esq., Lisa L. Beane, Esq.,
Eric P. Barstad, Esq., and Geoffrey H. Kozen, Esq., Robins Kaplan LLP, Minneapolis, MN, on
behalf of Defendant SuperValu, Inc.

David J. Lender, Esq., Eric S. Hochstadt, Esq., and Luna Ngan Barrington, Esq., Weil, Gotshal
& Manges LLP, New York, NY; Erik T. Koons, Esq., Andrew L. Lucarelli, Esq., and Aaron S.
Rabinowitz, Esq., Baker Botts LLP, Washington, DC; and Todd A. Wind, Esq., and Nicole M.
Moen, Esq., Fredrikson & Byron, PA, Minneapolis, MN, on behalf of Defendant C&S
Wholesale Grocers, Inc.
______________________________________________________________________________

                                     I. INTRODUCTION

       On November 26, 2018, the Clerk of Court entered two Cost Judgments for Defendant

C&S Wholesale Grocers, Inc. (“C&S”) [Docket Nos. 1337, 1338] and two Cost Judgments for

Defendant SuperValu, Inc. (“SuperValu”) [Docket Nos. 1339, 1340]. Motions for review of the

Cost Judgments have been filed by SuperValu [Docket No. 1341], C&S [Docket No. 1345],

Plaintiff DeLuca’s Corporation (“DeLuca’s”) [Docket No. 1351],1 Plaintiffs JFM Market, Inc.



       1
        DeLuca’s filed an identical Motion as Docket No. 1349. Because Docket Nos. 1349
and 1351 are duplicates, the Court will consider Docket No. 1351 as the operative Motion.
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and MFJ Market, Inc. (collectively, “Village Market”) [Docket No. 1358], and jointly by Village

Market and DeLuca’s [Docket No. 1363]. For the reasons stated below, SuperValu and C&S’

Motions are granted in part and denied in part, DeLuca’s Motion is denied, Village Market’s

Motion is granted in part and denied in part, and the joint Motion by Village Market and

DeLuca’s is granted in part and denied in part.

                                      II. BACKGROUND

       This multi-district litigation consolidated four putative class action lawsuits brought in

2009 by retail grocers in New England and the Midwest. Plaintiffs alleged that Defendants C&S

and SuperValu conspired to allocate customers and territories in the New England and Midwest

wholesale grocery markets, and that Defendants used the allocation to eliminate competition and

charge the retailers supra-competitive prices. Second Consol. Am. Class Action Compl.

[Docket No. 99] ¶¶ 34–44.

       The Consolidated Class Action Complaint alleged two broad putative classes: (1)

retailers who purchased products or related services from Defendants in the Midwest market (the

“Midwest Class”); and (2) retailers who purchased such products or services in the New England

market (the “New England Class”). See id. ¶ 67. Retailer D&G, Inc. (“D&G”) was a named

plaintiff in the Midwest Class, and DeLuca’s was a named plaintiff in the New England Class.

Id. ¶ 71. Both classes included a subclass of retailers who were party to an arbitration agreement

with a Defendant during the class period. Id. Village Market was a named plaintiff in the New

England arbitration subclass. Id.

       In December 2009, the Court entered a pretrial order appointing three firms as Co-Lead

Counsel in this case. See Pretrial Order No. 1 [Docket No. 15]. Among the firms appointed as


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Co-Lead Counsel was DeLuca’s individually-retained counsel.

       In July 2011, while the parties were engaged in fact discovery, the Court dismissed the

claims of Village Market and other arbitration subclass plaintiffs in favor of arbitration, and

continued adjudicating the claims of the two lead plaintiffs, D&G and DeLuca’s. See In re

Wholesale Grocery Prods. Antitrust Litig., No. 09-MD-2090, 2011 WL 9558054, at *3-*4 (D.

Minn. July 5, 2011). Village Market appealed the dismissal of its claims to the Eighth Circuit.

       On July 16, 2012, this Court denied class certification of both proposed classes,

determining that the plaintiffs could not show class-wide impact through common evidence. See

In re Wholesale Grocery Prods. Antitrust Litig., No. 09-MD-2090, 2012 WL 3031085 (D. Minn.

July 25, 2012) (redacted). The Court found that the “formulaic nature” of SuperValu’s pricing

method used in the Midwest market made a better case for certification of the Midwest Class

than the New England Class. Id. at *16. Nevertheless, the Midwest Class could not prove

impact by common evidence because each of SuperValu’s distribution centers across the

Midwest inserted different values into the pricing formula, requiring an analysis of each

distribution center’s fees and competitive conditions. Id. Following this ruling, D&G requested

leave to move for certification of a narrower Midwest class of grocers who were charged using

formulaic pricing and supplied by SuperValu’s Champaign, Illinois distribution center. See

Letter, Aug. 31, 2012 [Docket No. 362] (“August 2012 Letter”). DeLuca’s made no request for

a narrower New England class.

       On January 11, 2013, the Court granted summary judgment for C&S and SuperValu

against D&G and DeLuca’s. In re Wholesale Grocery Prods. Antitrust Litig., No. 09-MD-2090,

2013 WL 140285 (D. Minn. Jan. 11, 2013). Based on the grant of summary judgment to


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Defendants, the Court denied D&G’s request for renewed class certification of the narrower

Midwest Class as moot. Id. at *15. D&G appealed both the summary judgment ruling and the

denial of Midwest class certification. Notice of Appeal [Docket No. 429]. DeLuca’s did not

appeal the January 2013 Order.

       On February 13, 2013, while the summary judgment and Midwest Class certification

appeal was pending, the Eighth Circuit reversed the dismissal of the arbitration subclass

plaintiffs and remanded with instructions to consider whether some of these plaintiffs’ arbitration

agreements, including Village Market’s agreement, were enforceable under a “successor-in-

interest” theory. King Cole Foods, Inc. v. SuperValu, Inc., 707 F.3d 917 (8th Cir. 2013). This

Court later ruled, and the Eighth Circuit affirmed, that arbitration was not compelled under a

successor-in-interest theory. See In re Wholesale Grocery Prods. Antitrust Litig., No. 09-MD-

2090, 2015 WL 1191826 (D. Minn. March 16, 2015); aff’d, In re Wholesale Grocery Prod.

Antitrust Litig., 850 F.3d 344, 348 (8th Cir. 2017), amended (May 1, 2017).

       On February 15, 2013, SuperValu and C&S timely filed Bills of Costs against D&G and

DeLuca’s. See SuperValu 2013 Bill of Costs [Docket No. 439]; C&S 2013 Bill of Costs

[Docket No. 440]. Due to the pendency of D&G’s appeal and the remand of Village Market and

other plaintiffs’ claims at that time, the Court held the 2013 Bills of Costs in abeyance.

       In May 2014, the Eighth Circuit reversed summary judgment against D&G and remanded

to the district court to consider whether to certify a narrower class of Midwest Plaintiffs that was

based on which Midwest distribution center a plaintiff utilized. See In re Wholesale Grocery

Prod. Antitrust Litig., 752 F.3d 728 (8th Cir. 2014).

       Following the reversal of summary judgment against D&G, the Midwest Plaintiffs’


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claims proceeded on a different schedule than the New England Plaintiffs’ claims. See Letter,

Oct. 3, 2014 [Docket No. 487] at 2. Additionally, the Midwest Plaintiffs continued to be

represented by Lead Counsel, but New England plaintiff Village Market was represented by its

individual counsel, Dangel & Mattchen. Id. Nevertheless, the New England and Midwest

Plaintiffs agreed to coordinate discovery of their cases. Id.

       On September 7, 2016, the Court certified five classes of Midwest Plaintiffs. See Mem.

Op. Order, Sept. 7, 2016 [Docket No. 647]. In July 2017, a settlement was reached between

D&G on behalf of the Champaign DC Non-Arbitration Class and Supervalu. Under the

Settlement Agreement [Docket No. 823, Attach. 1], SuperValu agreed to pay $8.75 million, and

further agreed that “with respect to the Action, including this Settlement Agreement, Supervalu

shall bear its own costs and attorneys’ fees.” Settlement Agreement at 16. In return, D&G and

the Champaign Non-Arbitration Class agreed to release their claims against SuperValu. Id. at 9,

11. The Court granted final approval of the Settlement Agreement on November 16, 2017. See

Order Granting Mot. Final Approval Settlement [Docket No. 897]. The Midwest Plaintiffs

continued to litigate their claims against C&S, and Village Market continued to litigate its claims

against SuperValu.

       In April 2018, the Court held a jury trial on the Midwest Plaintiffs’ claims against C&S.

The jury returned a verdict for C&S on April 19, 2018. An amended final judgment for C&S

was entered on May 23, 2018. Am. J. [Docket No. 1273]. C&S timely filed a 2018 Bill of Costs

[Docket No. 1270] against the Midwest Plaintiffs and renewed its request for the costs itemized

in its 2013 Bill of Costs.

       On July 27, 2018, the Court granted summary judgment to SuperValu on Village


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Market’s claims. Redacted Mem. Op. Order [Docket No. 1308]. Judgment for SuperValu was

entered on July 30, 2018. J. [Docket No. 1304]. SuperValu timely filed a 2018 Bill of Costs

[Docket No. 1317] against Village Market and renewed its request for the costs itemized in its

2013 Bill of Costs.

       On November 26, 2018, the Court entered Cost Judgments on Defendants’ 2013 and

2018 Bills of Costs as follows:

 Bill of Cost         Amount Claimed        Amount Allowed        Taxed Against
 C&S 2013             $428,372.90           $33,585.07            Midwest Plaintiffs, DeLuca’s
 C&S 2018             $232,935.93           $64,814.43            Midwest Plaintiffs
 SuperValu 2013       $162,201.07           $35,202.01            Village Market, DeLuca’s
 SuperValu 2018       $118,867.09           $7,737.59             Village Market

       Motions to review the Cost Judgments have been filed by DeLuca’s, Village Market, and

both Defendants.

                                       III. DISCUSSION

A. Legal Standard

       Federal Rule of Civil Procedure 54(d)(1) provides in relevant part: “Unless a federal

statute, these rules, or a court order provides otherwise, costs—other than attorney’s

fees—should be allowed to the prevailing party.” A cost award must, however, fit within the

categories of taxable costs enumerated in 28 U.S.C. § 1920. Little Rock Cardiology Clinic PA v.

Baptist Health, 591 F.3d 591, 601 (8th Cir. 2009). The Supreme Court has emphasized that

taxable costs under § 1920 “are limited to relatively minor, incidental expenses,” and “are a

fraction of the nontaxable expenses borne by litigants for attorneys, experts, consultants, and

investigators.” Taniguchi v. Kan Pac. Saipan, Ltd., 566 U.S. 560, 573 (2012).

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       Although the district court has discretion in awarding costs, “the Rules presume that the

prevailing party is entitled to costs.” Lochridge v. Lindsey Mgmt. Co., 824 F.3d 780, 783 (8th

Cir. 2016) (quoting Reger v. Nemours Found., Inc., 599 F.3d 285, 289 (3d Cir. 2010)). A losing

party bears the burden of overcoming the presumption that the prevailing party may recover all

of its allowable costs. Stanley v. Cottrell, Inc., 784 F.3d 454, 464 (8th Cir. 2015). A district

court reviews a clerk’s taxation of costs de novo. Farmer v. Arabian Am. Oil Co., 379 U.S. 227,

233 (1964).

B.     C&S’ Cost Judgments

       Motions for review of C&S’ Cost Judgments have been filed by DeLuca’s and C&S.

       1. DeLuca’s Motion for Review

       DeLuca’s seeks review of the Cost Judgment awarding $33,585.07 jointly and severally

against DeLuca’s and the Midwest Plaintiffs for amounts claimed in C&S’ 2013 Bill of Costs.

See Cost Judgment [Docket No. 1337]. DeLuca’s argues that it should not be held liable on the

Cost Judgment. DeLuca’s states that the Midwest Plaintiffs do not object to DeLuca’s being

removed as a liable party.

       DeLuca’s contends it is not liable on the Cost Judgment because: its counsel did not play

a prominent role in determining what discovery would be sought; the only discovery costs

DeLuca’s incurred were $1,015.50 for its own deposition; and DeLuca’s stood to gain only a

fraction of the damages sought by the Midwest and New England classes.

       DeLuca’s further argues that it could face financial ruin if it is held jointly and severally

liable with the Midwest Plaintiffs. DeLuca’s argues that if the Midwest Plaintiffs appeal the

Cost Judgments and seek a stay, or if Eighth Circuit reverses the judgment against the Midwest


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Plaintiffs, then C&S would be allowed to seek full costs against DeLuca’s and potentially put it

out of business. DeLuca’s asks to be removed from the Cost Judgment so that it may “be free

from the risk and worry of perhaps being left alone to pay all of the costs.” DeLuca’s Mem.

Supp. Mot. Review [Docket No. 1352] at 4.

       C&S opposes the Motion, arguing that DeLuca’s actively participated in this case from

2009 to 2013 and should be held jointly and severally liable for the costs C&S incurred to defend

this action during that time. C&S also argues that financial hardship does not release DeLuca’s

from the Cost Judgment.

       In the Eighth Circuit, “[j]oint and several liability for costs is the general rule unless

equity otherwise dictates.” Concord Boat Corp. v. Brunswick Corp., 309 F.3d 494, 497 (8th Cir.

2002). Individual pro rata liability is “inconsistent with the presumption embodied in Rule 54(d)

of the Federal Rules of Civil Procedure that a prevailing party is entitled to recover all of its

costs,” because pro rata liability shifts the expense of collection and the risk of noncollection to

the prevailing party. Id. In circumstances where all plaintiffs “were represented by the same

counsel, had common theories of liability, and sought the same discovery,” joint liability is

appropriate because no individual plaintiff can be considered to have generated more costs than

any other. Id. Even if individual plaintiffs seek varying amounts of damages, an exception to

joint and several liability is not justified because such an exception would swallow the default

rule. Id.

       DeLuca’s has not met its burden of showing that the Court should depart from the default

rule of joint and several liability. Contrary to DeLuca’s arguments that its counsel had a

minimal role in determining the discovery to be sought and that it incurred almost no discovery


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costs, DeLuca’s chosen counsel—Meredith Cohen Greenfogel & Skirnick, P.C. —sought the

position and was appointed as co-lead counsel in this multidistrict litigation in 2009, and was

expressly responsible for coordinating discovery and other activities. See Pretrial Order No. 1 at

3–4. Additionally, DeLuca’s asserted the same theory of liability as all other plaintiffs and

benefitted from the discovery obtained on behalf of all plaintiffs. That DeLuca’s may have been

seeking less damages than other plaintiffs does not warrant an exception to the default rule of

joint and several liability. See Concord Boat, 309 F.3d at 497 (“The district court’s reason for

allocating costs individually—that the [plaintiffs] sought varying amounts of damages—is not a

sufficient reason to depart from [the general] rule.”).

        Similarly unpersuasive is DeLuca’s argument that it will potentially suffer financial

hardship if the Midwest Plaintiffs prevail on appeal and DeLuca’s is forced to pay the Cost

Judgment on its own. DeLuca’s has not provided an affidavit or other evidence showing that it

is financially incapable of satisfying the Cost Judgment, and even if it had, financial hardship is

not a defense to a cost award. See In re Derailment Cases, 417 F.3d 840, 845 (8th Cir. 2005)

(citing cases where costs were awarded against “indigent prisoners” and an individual plaintiff

with “limited financial resources”). Additionally, although “[j]oint and several liability should

not unfairly force any [individual plaintiff] to bear the costs alone,” the solution is not to shift the

risk of noncollection to the prevailing party by allocating costs individually. Concord Boat, 309

F.3d at 497. Rather, the losing parties should “allocate the risk of costs among themselves,” and

“any party satisfying the judgment c[an] seek contribution from the others.” Id. Regardless of

the outcome of the Midwest Plaintiffs’ appeal, DeLuca’s should look to the Midwest Plaintiffs,

rather than to C&S, to share in the risks it took when choosing to litigate this case against C&S.


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The amounts currently at issue in this high-stakes MDL litigation are very small in comparison

to the risks all plaintiffs knowingly assumed when the litigation began.

       DeLuca’s Motion for Review of C&S’ Cost Judgment against it is denied.

       2. C&S’s Motion for Review

               a. Electronically Stored Information Costs

       The Clerk denied $372,206.83 for electronically stored information (“ESI”) expenses

requested in C&S’ 2013 Bill of Costs. See Taxation Costs Summary [Docket No. 1337, Attach.

1] at 2. The costs were denied because “[f]ees incurred to produce documents for plaintiffs are

not taxable by the clerk.” Id. C&S argues that the ESI costs were for services akin to

exemplification or copying, and are thus allowable under 28 U.S.C. § 1920(4).

       As an initial matter, the Midwest Plaintiffs argue that none of C&S’ ESI-related costs are

recoverable because they were incurred in responding to discovery requests, and costs associated

with responding to discovery requests may not be taxed. This argument is contrary to Eighth

Circuit law, which clearly “establishes that district courts may tax costs for discovery-related

copying.” Stanley, 784 F.3d at 467 (internal quotations omitted). Thus, C&S’ claimed ESI costs

will be allowed if they fall within the purview of 28 U.S.C. § 1920(4).

       Section 1920(4) authorizes a prevailing party to recover “[f]ees for exemplification and

the costs of making copies of any materials where the copies are necessarily obtained for use in

the case.” 28 U.S.C. § 1920(4). An earlier version of § 1920(4) covered “[f]ees for

exemplification and copies of papers,” but Congress amended the statute on October 13, 2008 to

include ESI by allowing “the costs of making copies of any materials” to be taxed. CBT Flint

Partners, LLC v. Return Path, Inc., 737 F.3d 1320, 1326 (Fed. Cir. 2013).


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       Although the Eighth Circuit has not yet addressed the extent to which ESI related charges

are taxable under § 1920(4), other Circuit courts and courts within the Eighth Circuit permit

recovery of ESI costs if the costs fall within the meaning of “exemplification” or “making

copies.” See, e.g., Race Tires Am., Inc. v. Hoosier Racing Tire Corp., 674 F.3d 158, 166–71 (3d

Cir. 2012); In re Online DVD-Rental Antitrust Litig., 779 F.3d 914, 928 (9th Cir. 2015); CBT,

737 F.3d at 1328; Country Vintner of North Carolina, LLC v. E. & J. Gallo Winery, Inc., 718

F.3d 249, 258–62 (4th Cir. 2013) Assoc. Elec. & Gas Ins. Servs. v. BendTec, Inc., No.

14–1602, 2016 WL 740409, *2–3 (D. Minn. Feb. 24, 2016); Jo Ann Howard & Assocs., P.C. v.

Cassity, 146 F. Supp. 3d 1071, 1083 (E.D. Mo. 2015). “Exemplification” has been construed by

courts to mean the production of illustrative evidence or the authentication of public records.

Race Tires, 674 F.3d at 166; Country Vintner, 718 F.3d at 261–62. “[M]aking copies” is

interpreted to include scanning documents and converting native files into to a readable format.

See Race Tires, 674 F.3d at 167; Country Vintner, 718 F.3d at 261; Assoc Elec., 2016 WL

740409, at *3; Hallmark Cards, Inc. v. Monitor Clipper Partners, LLC, No. 08–0840, 2013 WL

1155245, *1 (W.D. Mo. Mar. 20, 2013).

       C&S has identified $1,049.29 in its 2018 Bill of Costs that were incurred in 2018 to

electronically convert its trial exhibits into the file format used at trial. Hochstadt Decl. [Docket

No. 1270, Attach. 1] ¶ 8, Ex. 7. These ESI costs are for illustrative evidence and thus qualify as

fees for “exemplification.”

       C&S also seeks recovery of $372,206.83 in ESI costs requested in its 2013 Bill of Costs.

The costs were incurred for the following services: (1) ESI processing, (2) converting electronic

files into Tagged Image File Format (“TIFF”) images (the format required by the parties’


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discovery protocol),2 (3) scanning paper documents, (4) Optical Character Recognition (“OCR”)

(also required in the parties’ discovery protocol), (5) bibliographic coding, (6) email restoration,

and (7) vendor fees for loading and formatting data, technical checks and trouble shooting,

creating production sets, data validations, and various other projects required to “exemplify”

sales data. Shotlander Decl. [Docket No. 440, Attach. 1] ¶ 6.

       Of the $372,206.83 requested for ESI in C&S’ 2013 Bill of costs, $41,129.45 was

incurred for scanning, converting files to TIFF images, and OCR’ing documents. See Shotlander

Decl. ¶ 6.b., Table 4. These services fall within the purview of “making copies” and will be

awarded.

       The remaining services were broadly described as “ESI processing” or pertained to

preliminary steps that were taken to produce the electronic discovery. “Section 1920(4) does not

state that all steps that lead up to the production of copies of materials are taxable. It does not

authorize taxation merely because today’s technology requires technical expertise not ordinarily

possessed by the typical legal professional. . . . Section 1920(4) authorizes awarding only the

cost of making copies.” Race Tires, 674 F.3d at 169. Just as the preparatory measures taken in

pre-digital discovery to locate, collect, and review documents before producing copies were not

taxable, so too the preliminary steps required to meet electronic discovery obligations are not

recoverable under § 1920(4). Id. at 169–70 (“[G]athering, preserving, processing, searching,

culling and extracting ESI simply do not amount to ‘making copies.’”).

       Additionally, C&S provides no explanation of the tasks or processes performed in the



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         See Rule 26(f) Report [Docket No. 70] Ex. B (Protocol for the Discovery of
Electronically Stored Information).

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subset of costs described as “ESI processing.” Nor do the underlying invoices offer insight on

the nature of the services and which, if any, equated to making electronic copies in the agreed-

upon format. See Shotlander Decl. Ex. 4 (invoices for services described as “ESI Processing for

Native review”). Thus, these services will not be taxed. See DVD-Rental Antitrust Litig., 779

F.3d at 928 (“The proper application of a narrowly construed § 1920(4) requires that the tasks

and services for which an award of [ESI] costs is being considered must be described and

established with sufficient specificity, particularity, and clarity as to permit a determination that

costs are awarded for making copies.”).

       Accordingly, the Court will award $41,129.45 for ESI-related expenses requested in

C&S’ 2013 Bill of Costs as the costs of making copies, and will award $1,049.29 for ESI-related

expenses requested in C&S’ 2018 Bill of Costs as fees for exemplification.

               b. Expert Deposition Fees

       The Cost Judgments for C&S limited the taxation of expert witness deposition fees to the

statutory appearance fee and allowable travel expenses. The Clerk denied the remainder of

C&S’ claimed expert witness deposition fees because “[e]xpert witness fees beyond that of the

statutory appearance fee and allowable travel expenses are not taxable by the clerk.” Taxation

Costs Summary [Docket No. 1337, Attach. 1] at 2; Taxation Costs Summary [Docket No. 1338,

Attach. 1] at 2. C&S argues that it should have been awarded all of its expert witness deposition

fees3 because such fees are recoverable under Federal Rule of Civil Procedure 26(b)(4)(E).

       Rule 26(b)(4)A) states that a “party may depose any person who has been identified as an



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        C&S requested expert witness fees of $22,601.00 in its 2013 Bill of Costs and
$168,136.55 in its 2018 Bill of Costs. See Cost J. [Docket No. 1337] at 1.

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expert whose opinions may be presented at trial,” and Rule 26(b)(4)(E)(i) instructs that “the

court must require that the party seeking discovery . . . pay the expert a reasonable fee for time

spent in responding to discovery.” Stanley, 784 F.3d at 464 (quoting Fed. R. Civ. P. 26). The

Eighth Circuit has held that, “[r]ead together, these rules allow for the recovery of fees related to

[an expert witness’] deposition.” Id. Although 28 U.S.C. § 1821(b) limits a witness’ deposition

attendance fee to $40 per day, “the flexible authorization for a ‘reasonable fee’ contained in

Rule 26 supersedes the fee schedule outlined in § 1821(b).” Id. Thus, C&S is entitled to recover

its expert deposition fees to the extent the fees are reasonable.

       The Midwest Plaintiffs argue “the Court in its discretion should find the requested

amount to be unreasonable,” but have offered no rationale for why the fees are unreasonable.

Midwest Pls.’ Resp. [Docket No. 1377] at 14. Nevertheless, the Court has reviewed C&S’

claimed deposition fees and finds them unreasonable to the extent that fees were incurred for

time not spent in actual deposition. Although some courts have awarded compensation for

“preparation” time, other courts have limited compensation to time the expert actually spent

being deposed. See Hose v. Chicago & N. W. Transp. Co., 154 F.R.D. 222, 227 (S.D. Iowa

1994) (citing cases). One court has observed that “[a]n expert’s deposition is in part a dress

rehearsal for his testimony at trial and thus his preparation is part of trial preparation. One party

need not pay for the other’s trial preparation.” Rhee v. Witco Chem. Corp., 126 F.R.D. 45,

47–48 (N.D. Ill. 1989). The Court finds this reasoning persuasive and will apply it here.

       The amount of expert witness fees in C&S’ 2013 Bill of Costs that were incurred during

the expert’s deposition is $2,925 charged by expert John Johnson for his March 2, 2012

deposition. See Shotlander Decl. at 8. These costs will be taxed against the Midwest Plaintiffs


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and DeLuca’s.

        The amount of expert witness fees in C&S’ 2018 Bill of costs that were incurred during

the experts’ depositions is $13,225, as set forth in the table below. See Hochstadt Decl. at 20,

22, 25, 26.

 Name                Deposition    Hours Billed          Rate                       Total
                     Date
 John Johnson        6/1/2016      10.0                  $1,000 (less 50% paid      $5,000
                                                         by SuperValu)
 John Johnson        2/15/2017     9.0                   $1,000 (less 50% paid      $4,500
                                                         by SuperValu)
 Kenneth Elzinga     3/10/2017     11.0 for “research    $1,000 (less 50% paid      $2,500
                                   and deposition”       by SuperValu, less
                                   (5.0 will be          amount subtracted for
                                   allocated to          research)
                                   deposition)4
 Joseph Fantasia     3/8/2017      7.0                   $350 (less 50%paid by      $1,225
                                                         SuperValu)
                                                                 TOTAL              $13,225

C&S also incurred $296.05 in allowable travel expenses for expert Kenneth Elzinga. See Cost J.

[Docket No. 1338] at 2. Thus, total expert witness deposition fees of $13,521.05 ($13,225 plus

$296.05) will be taxed against the Midwest Plaintiffs.

C. SuperValu’s Cost Judgments

        Motions for review of SuperValu’s Cost Judgments have been filed by SuperValu,

Village Market, and jointly by DeLuca’s and Village Market.




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        The time entry for Kenneth Elzinga’s deposition charges 11 hours for “research and
deposition,” but does not allocate how much time was for each. See Hochstadt Decl. at 25. The
Court will allocate 5 hours to time spent in the deposition.

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       1. DeLuca’s and Village Market’s Joint Motion for Review

       DeLuca’s and Village Market argue that when SuperValu entered into the Settlement

Agreement with D&G and the Champaign Non-Arbitration Class in 2017, SuperValu agreed to

bear its own costs, and in doing so relinquished its right to recover its pre-2013 costs against any

plaintiff, including DeLuca’s and Village Market. According to DeLuca’s and Village Market,

SuperValu received full satisfaction of its pre-2013 costs in the form of D&G and the

Champaign Non-Arbitration Class’ dismissal of their claims against SuperValu. DeLuca’s and

Village Market argue that to allow SuperValu to recover their costs from them would result in

SuperValu receiving a double recovery.

       SuperValu argues that the settlement was with D&G and the Non-Arbitration Class only,

and that SuperValu is free to pursue the full amount of its costs expended in this litigation

against non-settling parties. SuperValu notes that the “Interpretation” clause of the Settlement

Agreement states that “[n]othing expressed or implied in this Agreement is intended or shall be

construed to confer upon or give any person or entity other than Class Members, Releasing

Parties, and Released Persons any right or remedy under or by reason of this Agreement.”

Settlement Agreement ¶ III.E. SuperValu contends that since DeLuca’s and Village Market are

not Class Members, Releasing Parties, or Released Persons as defined in the Agreement, they

cannot be beneficiaries of SuperValu’s release of its right to seek costs against D&G. SuperValu

further argues that it has not recovered any of its costs in this litigation, so recovering from

Village Market and DeLuca’s jointly and severally does not result in a double recovery.

       The parties have not cited (and this Court has not found) precedent in the Eighth Circuit

on whether costs must be apportioned where a defendant settles with one party and agrees to


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bear its own costs, and later prevails against the remaining plaintiffs. However, the Federal

Circuit analyzed analogous circumstances in Ortho-McNeil Pharm., Inc. v. Mylan Labs., Inc.,

569 F.3d 1353 (Fed. Cir. 2009). In that case, the plaintiff, Daiichi Pharmaceutical Co.

(“Daiichi”), sued Mylan Laboratories (“Mylan”) for patent infringement relating to an antibiotic

drug called levofloxacin. Id. at 1355. Discovery in that action was conducted jointly with a

separate levofoxacin-related action by Daiichi against Teva Pharmaceuticals, Inc. (“Teva”) in a

different district court. Id. Depositions of Daiichi’s witnesses were taken jointly by Mylan and

Teva, and the depositions were necessary in both the Mylan and Teva actions. Id. at 1356.

       Daichii reached a settlement agreement with Teva in which Daichii agreed not to seek

recovery of its costs in the Teva case in exchange for Teva’s agreement not to appeal the district

court’s grant of summary judgment to Daiichi. Id. Daiichi later prevailed in its suit against

Mylan, and the district court awarded all of the shared deposition costs to Daiichi.

       Mylan appealed, arguing that “Daiichi effectively received half of the shared costs when

it settled with Teva, waiving actual payment of the costs in return for Teva forgoing an appeal.”

Id. at 1356–57. Daiichi argued that the district court’s award of all of the costs was appropriate

because Daiichi did not receive its actual costs in the Teva action. Id. at 1356.

       The Federal Circuit recognized the default rule that losing parties are jointly and

severally liable for cost awards. Id. at 1357. However, the court further explained that “[a]ny

such award, whether apportioned or awarded jointly and severally, is subject to the usual

limitation that the prevailing party may receive only one satisfaction of costs; that is, he cannot

recover more than his total entitlement.” Id. (quotations omitted). The court determined that

Daiichi had effectively already recovered some of its costs from Teva, because even though Teva


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did not pay costs in cash, the costs in the Teva action “were unquestionably taken into account

by the parties’ settlement, in which Daiichi agreed not to seek actual payment of costs as

consideration for Teva forgoing its appeal.” Id. at 1358. The Federal Circuit concluded that

since Daiichi had recovered the value of some of its costs from Teva in the form of a foregone

appeal, Daiichi could not “recover more than its total entitlement by obtaining those same costs

again from Mylan.” Id. The cost judgment was thus vacated and the case was remanded to the

district court to apportion the shared deposition costs. Id.

       As in Ortho-McNeil, there is no dispute that the pre-2013 discovery taken in this case

was necessary and beneficial to both the Midwest and New England Plaintiffs. When SuperValu

settled with D&G and the Champaign Non-Arbitration Class, costs were taken into account in

the Settlement Agreement, because SuperValu’s agreement not to seek payment of costs served

in part as consideration for D&G and the Champaign Non-Arbitration Class releasing their

claims. Since SuperValu has recovered some of those costs in the form of released claims, it

cannot now recover more than its total entitlement by obtaining a full cost judgment from

DeLuca’s and Village Market.

       Thus, a pro rata reduction of SuperValu’s costs is required to account for the share of

costs that SuperValu recovered from D&G and the Champaign Non-Arbitration Class. Under

the circumstances here, where the Midwest and New England Plaintiffs’ antitrust claims were

identical and the pre-2013 discovery was conducted on behalf of all Plaintiffs, it is reasonable to

apportion the costs equally between Midwest Plaintiffs D&G and the Champaign Non-

Arbitration Class on one hand, and Village Market and DeLuca’s on the other hand. Thus, to the

extent that the costs requested in SuperValu’s 2013 Bill of Costs are taxable, Village Market and


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DeLuca’s will be jointly and severally liable for one half of those costs, and the other half is

deemed to have been satisfied by SuperValu’s Settlement Agreement with D&G and the

Champaign Non-Arbitration Class. SuperValu’s Cost Judgments will be amended to reflect this

pro rata allocation.

       2. Village Market’s Motion for Review

       Village Market argues that the Cost Judgment related to SuperValu’s 2018 Bill of Costs

included expenses that should not have been awarded.

               a. Fees for Transcripts

       Village Market argues that the Clerk erred in taxing transcript fees against Village

Market for court reporting services relating to five depositions taken in 2016 and one deposition

taken in 2018. Village Market argues that the costs of the 2016 depositions, which total

$2,526.35, were discharged under the Settlement Agreement in 2017. Village Market also

contends that court reporter charges for the 2018 deposition were excessive.

       The $2,526.35 in costs associated with the 2016 depositions were incurred at a time when

SuperValu was defending against identical claims by the Midwest and New England Plaintiffs.

Thus, half of these costs ($1,263.18) were discharged under the November 2017 Settlement

Agreement. The Court has reviewed the costs associated with the 2018 deposition and

concludes they were correctly taxed and are not excessive. Thus, SuperValu’s Cost Judgment

related to its 2018 Bill of Costs will be amended to tax transcript fees of $5,861.32. This amount

represents the costs initially awarded ($7,124.50) minus the costs discharged under the

Settlement Agreement ($1,263.18).




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               b. Fees for Copies

       Village Market also argues that some of the copying costs of $513.09 awarded against it

were discharged in SuperValu’s Settlement Agreement. Village Market thus contends it should

only have been taxed for $219.78 for paper copies requested in SuperValu’s 2018 Bill of Costs.

Village Market does not specifically identify the charges it contends were incurred for

SuperValu’s litigation with the Midwest. Upon reviewing SuperValu’s 2018 Bill of Costs, the

Court finds that $264.69 was charged for making paper copies of a joint motion [Docket No.

655] by SuperValu and C&S for a limited stay of the litigation pending resolution of two appeals

in the Eighth Circuit. This joint motion was necessary to SuperValu’s defense against Plaintiffs

in the Midwest as well as New England. Thus, half of the copy charges related to this motion

($132.35) were discharged in the Settlement Agreement. SuperValu’s Cost Judgment related to

its 2018 Bill of Costs will be amended to tax paper copying charges of $380.74

($513.09 – $132.35) against Village Market.

       3. SuperValu’s Motion for Review

               a. Electronically Stored Information Costs

       The Clerk denied $104,417.82 for ESI-related expenses requested in SuperValu’s 2013

Bill of Costs. See Taxation Costs Summary [Docket No. 1340, Attach. 1] at 2. The costs were

denied because “[f]ees incurred to produce documents for plaintiffs are not taxable by the clerk.”

Id. SuperValu argues that the ESI costs were for services similar to exemplification or copying,

and are thus allowable under 28 U.S.C. § 1920(4).

       SuperValu seeks recovery of the following ESI costs: “(1) processing electronic data to

exemplify the required metadata fields, (2) converting electronic files into TIFF images (the


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format required for production to opposing counsel), (3) scanning paper documents for

exemplification, (4) OCR’ing documents, and (5) coding paper documents to include the

required metadata fields (e.g., data capture).” McElroy Decl. [Docket No. 439, Attach. 1] at 5.

       Although SuperValu argues the ESI costs are were incurred for the “exemplification” of

electronic data, SuperValu uses this term broadly and generically, rather than giving it the

narrow construction adopted by courts when interpreting § 1920(4). See SuperValu’s Mem.

Supp. Mot. Review [Docket No. 1342] at 5 (stating SuperValu is seeking “ESI costs related to

exemplification of electronic data”). SuperValu has not identified ESI costs relating to the

production of illustrative evidence or the authentication of public records costs. Thus, the ESI

costs are not taxable as fees for “exemplification.” See Country Vintner, 718 F.3d at 262

(holding that ESI processing charges did not qualify as fees for exemplification because the

“charges include[d] neither authentication of public records nor exhibits or demonstrative aids”).

       SuperValu also argues that its ESI expenses are taxable as costs of “making copies.” Of

the ESI-related costs requested by SuperValu, $38,095.02 was for (1) the conversion of native

files to TIFF images, which is the format agreed to by the parties in their discovery protocol, and

(2) scanning documents to create digital duplicates. See McElroy Decl. Ex. D at 2–3, 13.5 As

discussed above, expenses for these activities qualify as costs of “making copies.” Race Tires,

674 F.3d at 167. Village Market and DeLuca’s one-half share of the expenses is $19,047.51, and

they are jointly and severally liable for this amount.

       SuperValu’s remaining ESI expenses were for “ESI Processing” and coding paper



       5
       These services include: TIFF Processing ($26,510.00); Image Conversion ($1,863.38);
OCR ($2,356.70); and scanning ($7,364.94).

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documents. Coding paper documents is not taxable because it is a preparatory step that falls

outside the purview of “making copies.” “ESI Processing” is a broad term, and SuperValu

provides no explanation of the tasks performed in this subset of costs. The underlying invoices

offer no further insight on the nature of the ESI processing charges or whether the processing

amounted to making copies in the agreed-upon format. See, e.g., McElroy Decl. Ex. D (showing

invoices for charges broadly described as “Electronic Data Discovery” and “ESI Gross GB

Processing”). Thus, the costs for “ESI Processing” are not described with sufficient specificity

to support a determination that the services charged amounted to making copies in the agreed-

upon format. DVD-Rental Antitrust Litig., 779 F.3d at (holding that a request for taxation of

ESI costs “must be described and established with sufficient specificity, particularity, and clarity

as to permit a determination that costs are awarded for making copies.”).

       Accordingly, the Court will award $19,047.51 for ESI-related expenses requested in

SuperValu’s 2013 Bill of Costs as the costs of making copies. Together with the $1,078.74

awarded for paper copies, SuperValu’s total award for costs for copies based on its 2013 Bill of

Costs is $20,126.25.

               b. Expert Deposition Fees

       The Cost Judgments for SuperValu limited the taxation of expert witness fees to the

statutory appearance fee of $40 per day. The Clerk denied the remainder of SuperValu’s

claimed expert deposition fees because “[e]xpert witness fees beyond that of the statutory

appearance fee and allowable travel expenses are not taxable by the clerk.” Taxation Costs

Summary [Docket No. 1339, Attach. 1] at 2; Taxation Costs Summary [Docket No. 1340,

Attach. 1] at 2. SuperValu argues it should have been awarded all of its expert witness


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deposition fees6 because such fees are recoverable under Federal Rule of Civil Procedure

26(b)(4)(E).

       As discussed above, reasonable expert fees for responding to discovery are recoverable

under Rule 26(b)(4)(E)(i). Thus, SuperValu is entitled to recover its expert deposition fees to the

extent the fees are reasonable.

       Resisting this conclusion, Village Market claims that its counsel and SuperValu’s counsel

had a conversation in early January 2018 in which they orally agreed that each party would

compensate its own experts for the cost of their depositions. Village Market thus contends that

SuperValu’s 2018 expert depositions are not taxable to Village Market. Counsel for SuperValu

denies that such an agreement extended to bearing the ultimate cost of the expert depositions.

SuperValu’s counsel contends that during the January 2018 conversation, Village Market’s

counsel asked whether the experts would be invoicing opposing parties directly for fees and

costs incurred in their depositions, and SuperValu’s counsel responded that the practice in the

case had been for experts to invoice their own clients directly for all fees. SuperValu’s counsel

states that this arrangement was never intended to waive the right to seek expert fees later in a

bill of costs. SuperValu’s counsel further avers that he never told Village Market’s counsel that

expert witness fees would not be included in a bill of costs. Village Market’s evidence and

argument regarding the purported agreement is insufficient for the Court to conclude that such an

agreement existed. Thus, the purported agreement is not a basis for denying expert witness

deposition fees.



       6
         SuperValu requested $22,601.24 in its 2013 Bill of Costs and $111,229.50 in its 2018
Bill of Costs. See Cost J. [Docket No. 1340] at 1.

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        Village Market and DeLuca’s also argue that SuperValu’s expert witness fees are

unreasonable. The Court agrees that the fees are excessive and will limit them to the experts’

time spent in deposition and not preparation time.

        SuperValu is awarded $1,462.50 for expert witness deposition fees requested in its 2013

Bill of Costs. These fees constitute half of the costs charged to SuperValu for the time expert

John Johnson spent being deposed on March 2, 2012.7 See Beane Decl. [Docket No. 1317,

Attach. 1] Ex. E at 3.8 Village Market and DeLuca’s are jointly and severally liable for this

amount.

        SuperValu is also awarded expert witness deposition fees in its 2018 Bill of Costs of

$9,050 as shown in the table below. See Beane Decl. Ex. E at 4, at 14, 20, 30. Village Market is

solely liable for this amount.

 Name                   Deposition Date    Hours Billed   Rate                       Total
 Joseph Fantasia        1/19/2018               8.0       $350 (less 50% billed to   $1,400
                                                          C&S)
 Parker Normann         1/24/2018                 4.5     $600                       $2,700
 Kenneth Elzinga        1/26/2018                 4.59    $1,100                     $4,950
                                                                   TOTAL             $9,050



        7
        The other half of the costs charged to SuperValu for this deposition was satisfied
through SuperValu’s Settlement Agreement with D&G and the Champaign Non-Arbitration
Class.
        8
            The page reference is to CM/ECF number in top right corner of page.
        9
        The time entry for Kenneth Elzinga’s deposition charges 10 hours for “research and
deposition,” but does not allocate how much time was for each. See Beane Decl. Ex. E at 4, 30
(page references are to CM/ECF page number in top right corner). Village Market states that the
duration of the deposition was 4 1/2 hours, and the Court will use this figure in taxing fees. See
DeLuca’s and Village Market’s Reply [Docket No. 1379] at 24 (page reference is to number at
bottom of page).

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                                 IV. CONCLUSION

           Based on the foregoing, and all the files and records herein, IT IS HEREBY

ORDERED:

    1.     SuperValu’s Motion for Review of Cost Judgments [Docket No. 1341] is
           GRANTED IN PART and DENIED IN PART;

    2.     C&S’ Motion for Review of Cost Judgments [Docket No. 1345] is GRANTED
           IN PART and DENIED IN PART;

    3.     DeLuca’s Motion for Review of Cost Judgment [Docket No. 1351] is DENIED;

    4.     Village Market’s Motion for Review of Cost Judgment [Docket No. 1358] is
           GRANTED IN PART and DENIED IN PART as specified above;

    5.     Village Market and DeLuca’s Joint Motion for Review of Cost Judgment [Docket
           No. 1363] is GRANTED IN PART and DENIED IN PART as specified above;

    6.     C&S’ Cost Judgment [Docket No. 1337] against the Midwest Plaintiffs and
           DeLuca’s Inc. is amended to award costs as follows:
                         Fees of the clerk:                   $400.00
                         Fees for transcripts:                $24,214.90
                         Fees for copies:                     $50,079.62
                         Expert witness deposition fees:      $2,925.00

    7.     C&S’ Cost Judgment [Docket No. 1338] against the Midwest Plaintiffs is
           amended to award costs as follows:
                        Fees for transcripts:              $43,471.51
                        Fees for witnesses:                $5,792.85
                        Fees for copies:                   $16,203.31
                        Expert witness deposition fees:    $13,521.05

    8.     SuperValu’s Cost Judgment [Docket No. 1339] against Village Market is
           amended to award costs as follows:
                        Fees for transcripts:              $5,861.32
                        Fees for copies:                   $380.74
                        Expert witness deposition fees:    $9,050.00




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       9.     SuperValu’s Cost Judgment [Docket No. 1340] against Village Market and
              DeLuca’s is amended to award costs as follows:
                            Fees for transcripts:             $17,051.64
                            Fees for copies:                  $20,126.25
                            Expert witness deposition fees:   $1,462.50


       LET JUDGMENT BE ENTERED ACCORDINGLY.

                                                 BY THE COURT:



                                                       s/Ann D. Montgomery
                                                 ANN D. MONTGOMERY
                                                 U.S. DISTRICT JUDGE

Dated: February 1, 2019.




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